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       In the United States Court of Federal Claims
                                      No. 14-1019C

                                  (Filed: June 26, 2015)

*************************************
                                    *
MATTHEW ALLENSWORTH, et al.,        *
                                    *
                    Plaintiffs,     *
                                                Claims for Overtime and Sunday
                                    *
                                                Premium Pay; Bureau of Prisons
v.                                  *
                                                Correctional Officers; Arbitration
                                    *
                                                Settlement; Res Judicata Effect.
THE UNITED STATES,                  *
                                    *
                    Defendant.      *
                                    *
*************************************

Sara L. Faulman, with whom was Diana J. Nobile, Woodley & McGillivary, LLP,
Washington, D.C., for Plaintiff.

Emma E. Bond, with whom were Benjamin C. Mizer, Acting Assistant Attorney General,
Robert E. Kirschman, Jr., Director, Deborah A. Bynum, Assistant Director, Commercial
Litigation Branch, Civil Division, U.S. Department of Justice, Washington, D.C., for
Defendant.

                         OPINION AND ORDER ON
                  CROSS-MOTIONS FOR SUMMARY JUDGMENT

WHEELER, Judge.

       Plaintiffs are 88 current and former correctional officers employed by the United
States Bureau of Prisons (“BOP”) at the Federal Correctional Institution in Texarkana,
Texas (“FCI Texarkana”). Plaintiffs bring the current action seeking a declaratory
judgment, back pay, and other relief to remedy Defendant’s alleged violations of the Fair
Labor Standards Act (“FLSA”) and Title 5 of the U.S. Code. Specifically, Plaintiffs assert
that Defendant has violated and continues to violate Section 7(a) of FLSA by failing to pay
overtime for daily, uncompensated fifteen-minute rest breaks. Plaintiffs also allege that
Defendant has violated and continues to violate 5 U.S.C. § 5546 by failing to pay Sunday
premium pay for shifts beginning at 11:45 p.m. on Sunday.
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       Defendant filed a motion for summary judgment on December 19, 2014.
Defendant’s motion primarily relates to claims alleged to have been settled and precluded
by an October 23, 2014 agreement between the agency and the American Federation of
Government Employees Council of Prison Locals, Local No. 2459 (“Union”). By its terms,
the agreement does not purport to settle any continuing violations beyond October 23,
2014. However, as the agreement relates to the subject of Plaintiffs’ claims, Defendant
argues that the agreement bars Plaintiffs from re-litigating those same claims under the
doctrine of res judicata. In the alternative, Defendant argues that the overtime and premium
pay claims should be dismissed on the merits. Additionally, Defendant argues that a two-
year statute of limitations should apply to Plaintiffs’ claims for failure to prove a willful
violation of the FLSA. Plaintiffs responded and cross-moved for summary judgment on
February 13, 2015, arguing that the settlement agreement did not cover the overtime and
premium pay claims raised in this action. Plaintiffs also argued that they were entitled to
summary judgment on the merits of their claims, and seek further discovery to prove a
willful violation of the FLSA. Defendant responded and replied on March 30, 2015, and
Plaintiffs replied on April 24, 2015. The Court heard oral argument on the motions on May
15, 2015. The motions are ready for decision.

                                    Factual Background

        The BOP assigns Plaintiffs to work as correctional officers on three different daily
shifts: the Morning Watch shift, the Day Watch shift, and the Evening Watch shift. Compl.
4-5. This case concerns only the Morning Watch shift, which runs from 11:45 p.m. until
8:00 a.m. the following morning. Id. at 5. Plaintiffs work five Morning Watch shifts per
week, though these shifts occur seven days a week. Id. While on this shift, Plaintiffs
perform such tasks as clearing a staff-dedicated screening site, obtaining and donning
equipment, maintaining a state of alertness and vigilance at all times, engaging in
equipment and information exchanges, engaging in correctional officer work, and returning
equipment to the Agency’s Control Center. Id. The BOP provides Plaintiffs a fifteen-
minute uncompensated break period, during which the “officer will not be required to
perform any duties.” Def.’s Mot. for Summ. J. (Def.’s Mot.) at 3. However, Plaintiffs
allege that they perform at least eight hours and fifteen minutes of work every day they are
assigned, but are only compensated for eight hours each day. Compl. 5. For those persons
working on Tuesday through Sunday, Plaintiffs allege this uncompensated work results in
a violation of FLSA. Id.

       For those Plaintiffs working the Monday Morning Watch shift, which begins at
11:45 p.m. on Sunday and ends at 8:00 a.m. Monday, Plaintiffs receive fifteen minutes of
overtime pay for the first fifteen minutes of the shift, and then eight hours of standard pay.

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Def.’s Mot. at 3. However, Plaintiffs allege that the Sunday work violates 5 U.S.C. § 5546
by failing to provide Sunday premium pay instead of overtime pay. Compl. 5.

        The BOP negotiated the Morning Watch schedule with the Union, which is the
exclusive representative for all bargaining unit employees of the agency, including
correctional officers. Def.’s Mot. at 4. The Union and the agency signed a Memorandum
of Understanding (“MOU”) in May 2004 agreeing to the Morning Watch schedule and they
have adhered to the MOU since that time. Id. The MOU provides that Morning Watch
shifts, except for Monday, have duty hours from 11:45 p.m. to 8:00 a.m., and the officers
receive a fifteen-minute uncompensated break each shift, during which they are relieved
from duty. Id.; Def.’s Appx. at A42. Further, the Union agreed in the MOU to fifteen
minutes of overtime pay for the Monday Morning Watch shift, with no break time. Id.
The Union and the BOP agreed to these schedules in order to “maintain overlapping shifts
while at the same time reduce overtime costs and Sunday premium pay and avoid any
future portal to portal issues or claims.” Id.

       Approximately ten months before Plaintiffs filed the present claim in this Court, the
Union invoked arbitration to resolve an overtime and premium pay grievance. Def.’s Mot.
at 5. The grievance addressed continuing violations of the overtime laws pursuant to FLSA
and premium pay under Title 5. Id.; Def.’s Appx. at A11. The violations alleged in the
grievance included, but were “not limited to,” morning watch posts. Id. at A11-12. The
grievance primarily complained of the BOP improperly requiring employees “to perform
work prior to and after the completion of their shifts,” otherwise known as “Portal-to-
Portal” issues. Id. at A11. As compensation for the violations, the Union sought back pay
under FLSA and Title 5, as well as liquidated damages, attorneys’ fees, interest and
expenses. Def.’s Mot. at 5.

        Prior to formal arbitration, the parties reached an agreement “in full and complete
settlement” of the arbitration. Def.’s Appx. at A1. The BOP agreed to pay $85,000.00 to
the Union, to be distributed to “current and former bargaining unit employees who are
entitled to receive damages,” as well as $56,375.00 in attorneys’ fees. Id. at A2, 4. In
exchange, the Union agreed that “no other action or suit with respect to the claims that are
set forth in the grievance . . . will be filed in, or submitted to, any court or any administrative
forum.” Id. at A1-2. The Union and the BOP executed the agreement on October 23, 2014,
three days after Plaintiffs filed suit in this Court. Id. at A7.




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                                         Discussion

       I.     Jurisdiction

      The parties agree that the Court has jurisdiction over FLSA and Title 5 claims
pursuant to its Tucker Act jurisdiction. 28 U.S.C. § 1491. The applicable money-
mandating statutes are the Fair Labor Standards Act, 29 U.S.C. § 201 et seq., and the Back
Pay Act, 5 U.S.C. § 5596.

       II.    Standard of Review

       Summary judgment is appropriate where the evidence demonstrates that there is “no
genuine dispute as to any material fact and that the movant is entitled to judgment as a
matter of law.” RCFC 56(a); see also Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 247–
49 (1986); Casitas Mun. Water Dist. v. United States, 543 F.3d 1276, 1283 (Fed. Cir.
2008). A “genuine” dispute is one that “may reasonably be resolved in favor of either
party,” Anderson, 477 U.S. at 250, and a “material” fact is one that “might affect the
outcome of the suit under the governing law[.]” Id. at 248. The moving party carries the
burden of establishing its entitlement to summary judgment. Celotex Corp. v. Catrett, 477
U.S. 317, 322–23 (1986). Once that burden is met, the onus shifts to the non-movant to
identify evidence demonstrating a dispute over a material fact that would allow a
reasonable finder of fact to rule in its favor. Anderson, 477 U.S. at 256. It is not necessary
that such evidence be admissible, but mere denials, conclusory statements, or evidence that
is merely colorable will not defeat summary judgment. Celotex, 477 U.S. at 324;
Anderson, 477 U.S. at 249–50.

       In considering a motion for summary judgment, a court does not weigh each side's
evidence but, rather, must draw all inferences in the light most favorable to the non-moving
party. Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 587–88 (1986).
Where, as here, the parties have filed cross-motions for summary judgment, the Court
evaluates each motion on its own merits and makes all reasonable inferences against the
party whose motion is under consideration. Marriott Int’l Resorts, L.P. v. United States,
586 F.3d 962, 968–69 (Fed. Cir. 2009) (internal citation omitted). To the extent a genuine
issue of material fact exists, both motions must be denied. Id. at 969.

       III.   Res Judicata

       “Under the doctrine of res judicata, a final judgment on the merits of an action
precludes the parties from relitigating issues that were or could have been raised in that
action.” Stearn v. Dep’t of Navy, 280 F.3d 1376, 1380 (Fed. Cir. 2002) (citing Federated
Dep’t Stores, Inc. v. Moitie, 452 U.S. 394, 398 (1981)). The parties agree that the “Federal
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Circuit is broadly guided by the Restatement (Second) of Judgments” (“Restatement”).
Pl.’s Opp. at 14; Acumed LLC v. Stryker Corp., 525 F.3d 1319, 1323 (Fed. Cir. 2008)
(stating the Federal Circuit is guided by the Restatement “[i]n applying the doctrine of
claim preclusion”). Under the Restatement, a claim, when extinguished, includes “all
rights of the plaintiff to remedies against the defendant with respect to all or any part of the
transaction, or series of connected transactions, out of which the action arose.”
Restatement § 24(1). A factual grouping constitutes a “transaction” when the facts are
“related in time, space, origin, or motivation,” and when they “form a convenient trial unit”
that “conforms to the parties’ expectations or business understanding or usage.” Id. §
24(2). “A common set of transactional facts is to be identified ‘pragmatically.’” Jet, Inc.
v. Sewage Aeration Systems, 223 F.3d 1360, 1363 (Fed. Cir. 2000) (quoting Restatement
§24(2)).

        There are three elements necessary for res judicata, also known as “claim
preclusion,” to apply: (1) the parties are identical or in privity; (2) the first suit proceeded
to a final judgment on the merits; and (3) the second claim is based on the same set of
transactional facts as the first. Phillips/May Corp. v. United States, 524 F.3d 1264, 1268
(Fed. Cir. 2008) (citation omitted). “A determination of whether res judicata applies to the
facts of a case is a matter of law.” Stearn, 280 F.3d at 1380.

              A. Privity of Parties

        The first element of applying res judicata is to determine whether the parties in this
action are identical to, or in privity with, the parties in the original action. Here, the prior
arbitration and settlement agreement constitute the original action. The Defendant is
identical in this case as in the arbitration proceeding because BOP, the original defendant,
is part of the United States Government. The Plaintiff correctional officers are not identical
in both proceedings, but Plaintiffs here are in privity with the Union, which brought the
original action. Parties are in privity when they “hav[e] a legally recognized interest in the
same subject matter (such as transaction, proceeding, or piece of property).” Black’s Law
Dictionary 9th ed. (“privity”). Generally, “[u]nion members are considered to be in privity
with their union for purposes of res judicata.” Proctor v. District of Colombia, CV 13-
00985, 2014 WL 6676232, at *8 (D.D.C. Nov. 25, 2014). The Union is the “exclusive
representative of the employees in the unit it represents and is entitled to act for . . . all
employees in the unit.” 5 U.S.C. § 7114(a)(1). When a union settles FLSA claims on
behalf of its members, the members are bound. See O’Connor v. United States, 308 F.3d
1233, 1241 (Fed. Cir. 2002) (“[T]he union acted on behalf of appellants to settle their FLSA
claims. Appellants are therefore bound.”).

      Here, Plaintiffs had a “legally recognized interest” in the arbitration proceeding
because they are collective bargaining members of the Union that invoked the arbitration.
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The arbitration concerned FLSA and Title 5 grievances on behalf of correctional officers
at FCI Texarkana, and thus concerned the same “subject matter” transaction or property:
the agreed-upon work shifts outlined in the MOU. The Union’s president, John Tosh, is
both the signatory of the settlement agreement on behalf of the bargaining unit and a named
plaintiff in this case. Def.’s Appx. at A7; Compl. 2. Plaintiffs argue that only some of the
Plaintiffs here were parties to the arbitration, but do not seriously contest that all bargaining
unit members of the Union were in privity with the Union when it settled its FLSA claims
in October 2014. Whether or not all of the Plaintiffs here recovered damages in the prior
arbitration is of little import. All of the Plaintiffs were represented by the Union in that
proceeding, which sought damages “for each affected bargaining unit member who
expresses interest in receiving damages.” Def.’s Appx. at A12. As Judge Eric Bruggink
held in Addison-Taylor v. United States, a case involving grievance claims quite similar to
the case at bar, “[t]he fact that not all bargaining unit members shared in the [settlement]
payment does not mean that the settlement fails to constitute a resolution of their claims
for back pay.” 63 Fed. Cl. 345, 351 (2004). Thus, Plaintiffs here were in privity with the
Union, which signed the settlement agreement and cancelled the prior arbitration.

              B. Judgment on the Merits

       Under Restatement § 84(1), “a valid and final award by arbitration has the same
effects under the rules of res judicata . . . as a judgment of a court.” Unless a “scheme of
remedies requires that it be denied such effect,” an arbitration that “has the elements of
validity and [finality] . . . should be accorded claim preclusive effect. . . .” Restatement §
84 cmt. b. Plaintiffs do not seriously contest the validity of the arbitration proceeding, and
the Court finds that the proceeding was valid under the Restatement. The arbitrator had
jurisdiction pursuant to the Union’s agreed-upon grievance procedure, and the Union
invoked the arbitration itself. Further, the arbitration procedures contained all the
“essential elements of adjudication,” including notice, the presentation of witnesses, and a
binding decision requirement. Restatement §§ 84(3)(b), 83(2); Def.’s Appx. at A11, 32-
33; Def.’s Mot. at 12. Lastly, the arbitrator was not prohibited by the Master Agreement
or any statutory scheme from hearing FLSA or Title 5 claims, as evidenced by the fact that
the arbitration involved claims under those same laws. Id. at 13. Thus, the arbitration was
a valid proceeding under the Restatement standards.

       Further, a settlement agreement following an arbitration proceeding is sufficient to
give res judicata effect. The Federal Circuit has given preclusive effect to settlements,
stating it is “widely agreed that an earlier dismissal based on a settlement agreement
constitutes a final judgment on the merits in a res judicata analysis.” Ford-Clifton v. Dep’t
of Veterans Affairs, 661 F.3d 655, 660 (Fed. Cir. 2011). Thus, the Court is satisfied that a
settlement agreement cancelling a valid arbitration proceeding is generally sufficient to
create claim preclusion.
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              C. Same Transactional Facts

        The final element of the claim preclusion analysis is the most contentious. Plaintiffs
claim that the Union did not raise the same overtime and premium pay issues in the
arbitration proceeding that they raise here. In arbitration, the Union brought claims for
compensation for so-called “Portal-to-Portal” violations, wherein the BOP failed to
compensate officers for time spent working before and after their shifts, as well as premium
pay violations. Here, Plaintiffs raise claims for uncompensated time during the shift, in
addition to premium pay violations. While this distinction makes sense if the Court focuses
closely on the parameters of the workday, it loses the requisite pragmatism demanded by
the Restatement when the Court steps back for perspective.

       The Restatement bars subsequent claims derived from the same “transaction, or
series of connected transactions,” which should be “determined pragmatically.”
Restatement §§ 24(1), 24(2). Plaintiffs’ argument that the previous “Portal-to-Portal”
claims are “very different and wholly unrelated to the issue of whether mid-day breaks are
compensable work under the FLSA” is untenable when examined from a practical
standpoint. Pl.’s Opp. at 5, n.7. Plaintiffs in effect seek to bring one claim for FLSA
overtime violations at the beginning and end of a shift, and a completely separate claim for
FLSA overtime violations that occur during the shift. Counsel for Plaintiffs surely are
aware of the attorney fees provisions in FLSA that accompany a favorable judgment, but
the Court cannot condone such unwarranted claim splitting. Any alleged FLSA violations
occurring during the same or similar work shifts by the same or similar group of
correctional officers should have been raised in the grievance and ensuing arbitration
proceeding. The Court is unwilling to define the scope of these new claims so narrowly as
to allow multiple legal proceedings to adjudicate FLSA overtime claims for different times
of day.

       Plaintiffs argue that in considering whether the actions are based on the same set of
transactional facts, the Court should consider “whether the evidence necessary to prove
one cause of action would establish the other.” Pl.’s Opp. at 14; Jet, 223 F.3d at 1362–63.
However, Plaintiffs’ reliance on this language in Jet is misplaced. The quoted language is
merely part of a string citation and, rather than emanating from the Jet court, derives from
the 1894 Supreme Court case United States v. Haytian Rep., 154 U.S. 118, 125 (1894).
The court in Haytian qualified this “test” as only “[o]ne of the tests laid down” to determine
whether causes of action should have been joined in one suit. Id. Even under the Haytian
evidence standard, the Court finds that the evidence required here would largely be the
same as in the prior arbitration. For example, the work schedules and MOU would be the
same or similar, and any testimony from BOP representatives or correctional officers
would involve describing their duties, work times, break opportunities, and other similar
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evidence. Additionally, the relevant standards for proving an FLSA or Title 5 violation
would, naturally, be the same in both cases. The Court also looks to a case quoted earlier
in the same string citation, Hermann v. Cencom Cable Assoc., Inc., 999 F.2d 223 (7th Cir.
1993) (citing Parsons Steel, Inc. v. First Ala. Bank, 474 U.S. 518, 521 (1986)), for the
proposition that a set of transactional facts is to be defined in terms of the “same nucleus
of operative facts,” and “based on the same, or nearly the same, factual allegations.” Id.
at 226 (emphasis added). Claims for overtime violations at two different times in the same
shift certainly involve “nearly the same” factual allegations. Thus, the Court does not
accept Plaintiffs’ attempt to parse the facts and requisite evidence unnecessarily.

        Moreover, the court in Jet found res judicata inapplicable because the claims were
based on different actions at law, one being a claim of trademark infringement and the other
a petition to cancel the defendant’s trademark. 223 F.3d at 1363. Thus, the Federal Circuit
in Jet found that different types of factual allegations were required to prove each claim
because of the differing legal relevance. For example, in the trademark infringement claim,
one set of facts to be proven was the “plaintiff’s possession of a valid registered trademark,”
whereas in the cancellation action, the plaintiff instead had to prove the “existence of a
registered mark” by the defendant. Id. Here, however, both the arbitration and the current
action are styled as claims under FLSA overtime provisions and Title 5’s premium pay
laws, and thus do not require a different type of proof or a different subject of facts. Indeed,
the differences between the requisite proof in the arbitration and the proof required here
relate primarily to the time of day that Plaintiffs performed extra work. Such a minor
difference in factual development does not merit the filing of two distinct actions.

        Lastly, Plaintiffs focus on the fact that the settlement agreement, by its own
language, only settled the Portal-to-Portal claims. Plaintiffs seem to believe that as long
as the settlement did not expressly cover the claims they now bring, they should not be
precluded from suit. Although they convincingly argue that the prior arbitration only
covered FLSA violations pre- and post-shift as opposed to mid-shift, Plaintiffs are
unpersuasive when explaining why their mid-shift claims should not or could not have been
brought earlier. The Court cannot overlook the expansive language in the Restatement
when applying the doctrine of res judicata. Further, the Court is cognizant of the spirit and
purpose of res judicata, which is to prevent excessive or repetitive litigation. When
evaluated holistically, Plaintiffs’ suit here is one that should have been brought with the
Union’s “Portal-to-Portal” grievance, as both claims relate to FLSA and Title 5 violations
during the same or similar work shifts at FCI Texarkana. The evidence necessary to prove
the claims would be similar, and bringing the claims together would have been of desirable
efficiency. Surely the facts involved in both claims are “related in time, space, origin, or
motivation,” and would “form a convenient trial unit” that “conforms to the parties’
expectations” of when all of the FLSA claims would be resolved. Restatement § 24(2).
To allow Plaintiffs to split their claims by time of day would be a waste of both Defendant’s
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and the Court’s resources, and create an unfair opportunity for Plaintiffs to receive
excessive attorneys’ fees.

       Accordingly, Plaintiffs’ FLSA and Title 5 claims from January 2, 2011 to October
23, 2014 are barred by res judicata. The Court need not conduct a waiver analysis.

       IV.    Merits of Continuing Premium Pay Claims

       The Court is satisfied that the disputes regarding the continuing Title 5 premium
pay claims in this case concern only the law, and no material facts are in dispute on this
issue. Thus, the Court finds summary judgment on Plaintiffs’ continuing Title 5 claims to
be appropriate.

        Defendant asserts that Plaintiffs are not entitled to Sunday premium pay for shifts
beginning at 11:45 p.m. on Sunday and ending at 8:00 a.m. on Monday because Plaintiffs
are paid overtime for the first fifteen minutes of the shift, and the rest of the time is
considered a regular eight-hour shift. Def.’s Mot. at 20. Overtime work is not the same as
Sunday premium pay. Id. Defendant further contends that premium pay under Title 5 only
applies to an “8-hour period of service,” which does not apply to the eight-hour-and-
fifteen-minute shift at issue here. Plaintiffs, conversely, argue that the overtime portion of
the shift occurs at the end of the shift, and that the current work shifts violate Title 5 for
failure to assign the same working hours on each day of the basic work week. 5 U.S.C. §
6101(a)(3)(C). Plaintiffs argue that the Monday Morning Watch includes an eight-hour
shift followed by fifteen minutes of overtime, whereas the other days of the week the
officers work eight hours and fifteen minutes with a fifteen-minute break in the middle of
the shift. Pl.’s Opp. at 31. Accordingly, Plaintiffs argue that Defendant’s schedule violates
Title 5 for failing to maintain the same working hours each work day, and for failing to pay
Sunday premium pay.

       First, the Court considers whether the “overtime” portion of the shift occurs at the
beginning or the end of the shift. Plaintiffs seem to rely only on the vernacular usage of
“overtime” to support their claim that the overtime portion occurs at the end of the shift, or
from 7:45 a.m. to 8 a.m. However, Defendant cites a Comptroller General decision holding
the opposite in the context of FLSA overtime hours: pursuant to Title 5, “an agency may
designate hours of work other than the last hours of the workweek or workday as overtime
hours.” In re Sommerhauser, B-189197, 1979 WL 14970 (Comp. Gen. May 16, 1979).
The Court is persuaded that Defendant properly designated the first fifteen minutes of the
Monday Morning Watch shift as overtime. It follows, then, that Plaintiffs cannot claim
Sunday premium pay for that shift because employees are only entitled to Sunday premium
pay for work “which is not overtime work as defined by section 5542(a) of [Title 5].” 5
U.S.C. § 5546(a). Here, the only Sunday work in the Monday Morning Watch shift is
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designated as overtime work, and thus is non-compensable as premium pay. The Union
and the BOP even agreed to this overtime designation in a joint effort “to reduce overtime
costs and Sunday premium pay.” Def.’s Appx. at A42.

        Further, Plaintiffs’ claims about the same working hours requirement is undermined
by the exception to the rule, which states that the agency is not required to impose the same
working hours “when the head of an agency determines . . . that costs would be
substantially increased.” 5 C.F.R. § 610.121(a); see also 5 U.S.C. § 6101(a)(3)(C). Surely,
applying the same working hours to the Monday Morning Watch shift would “substantially
increase[]” costs because Defendant would be forced to pay premium pay for the entire
shift. In what is clearly an effort to avoid these costs, the BOP and the Union agreed in the
MOU to designate the first fifteen minutes as overtime to “reduce . . . Sunday premium
pay.” Def.’s Appx. at A42. OPM regulations define the “head of an agency” to include
any supervisor delegated the power to schedule an employee's overtime. 5 C.F.R. §
610.102. Marina Medina, the Associate Warden who signed the MOU with the Union
representative, is a supervisor delegated the power to schedule the correctional officers’
overtime. Def.’s Appx. at A43. Thus, the Court is satisfied that the BOP properly
employed the exception to the same working hours requirement in an effort to reduce costs.
Pursuant to the MOU and the agency’s authority to reduce costs, Plaintiffs receive overtime
compensation for the first fifteen minutes of the shift and regular pay thereafter.
Accordingly, the Court finds that Plaintiffs are not entitled to Sunday premium pay for the
shift beginning at 11:45 p.m. on Sunday evening.

       V.     Merits of Continuing Overtime Claims

       The Court finds that discovery and trial will be necessary to adjudicate the merits of
the continuing overtime claims. Material facts remain in dispute, including whether
Plaintiffs actually worked more than eight hours per shift, and whether a fifteen-minute
break is sufficient for a meal, as Defendant claims. Thus, the cross-motions for summary
judgment on the continuing overtime claims are denied.

       VI.    Willfulness and Statute of Limitations

        A three-year statute of limitations applies to "willful" violations of the FLSA. 29
U.S.C. § 255(a). Adams v. United States, 350 F.3d 1216, 1229 (Fed. Cir. 2003). Plaintiffs
bear the burden of proving willfulness. Bull v. United States, 68 Fed. Cl. 212, 272 (2005).
However, because the Court finds the settlement agreement to have preclusive effect, an
extended statute of limitations has no relevance to this case. Any claims that accrued prior
to the settlement agreement are more than three years old, and any continuing claims since
the filing of this action cannot be barred by a statute of limitations. Thus, the Court finds
any Rule 56(d) discovery on willfulness to be unnecessary.
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                                    Conclusion

       Based upon the foregoing, the Court GRANTS IN PART Defendant’s motion for
summary judgment, and DENIES Plaintiffs’ motion for summary judgment. Pursuant to
Rule 12(a)(4) of the Court, Defendant should file its answer to the complaint within
fourteen days, on or before July 10, 2015.

      IT IS SO ORDERED.

                                             s/ Thomas C. Wheeler
                                             THOMAS C. WHEELER
                                             Judge




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